405 F.2d 924
    69-1 USTC  P 9159
    Gilbert J. SHEFFELS and Eleanor Sheffels, Husband and Wife, Appellants,v.UNITED STATES of America, Appellee.Marjorie HEITMAN, Appellant,v.UNITED STATES of America, Appellee.
    Nos. 21958, 21958-A.
    United States Court of Appeals Ninth Circuit.
    Jan. 7, 1969.
    
      Francis J. Butler, (argued), of Butler &amp; Lukins, John E. Snoddy, Spokane, Wash., for appellants.
      Mitchell Rogovin, Asst. Atty. Gen., Lee A. Jackson, Elmer J. Kelsey, Robert J. Campbell, Attys., Dept. of Justice, Washington, D.C., Smithmoore P. Myers, U.S. Atty., Carroll D. Gray, Asst. U.S. Atty., Spokane, Wash., for appellees.
      Before HAMLEY, JERTBERG and CARTER, Circuit Judges.
      PER CURIAM:
    
    
      1
      In these suits, consolidated for trial and appeal, the sole question presented is whether expenses incurred by appellant taxpayers during the taxable year 1961, in making tours of the Orient in connection with the 'People to People' program of the United States Information Agency, are deductible for federal tax purposes under the provision of section 170 of the Internal Revenue Code of 1954, 26 U.S.C. 170.
    
    
      2
      For the reasons stated in the opinion of the district court, reported in 264 F.Supp. 85, we hold that the expenses are not deductible.
    
    
      3
      Affirmed.
    
    